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EXHIBIT
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

——-— NATIONWIDE-LIFE-INSURANGE-GOMPANY;
— a foreign corporation,

Plaintiff/Counter-Defendant,

VS Case: 2:11-cv-12422-AC-MKM
Hon. Avern Cohn
WILLIAM KEENE, JENNIFER KEENE,
MONICA LYNN LUPILOFF, NICOLE RENEE
LUPILOFF and NICOLE RENEE LUPILOFF
PERSONAL REPRESENTATIVE OF THE ESTATE
OF GARY LUPILOFF, DECEASED,

Defendants,
and
MONICA LYNN LUPILOFF, NICOLE RENEE
* LUPILOFF and NICOLE RENEE LUPILOFF
PERSONAL REPRESENTATIVE OF THE ESTATE
OF GARY LUPILOFF, DECEASED,
Defendants/Counter-Plaintiffs and Cross-Plaintiffs,

vs

WILLIAM KEENE, JENNIFER KEENE,
individually, jointly and severally,

Defendants/Cross-Defendants.

Michael F. Schmidt (P25213) Albert L. Holtz (P15088)

Attorney for Plaintiff ALBERT L. HOLTZ, P.C.

-, 1050 Wilshire Dr, Ste 320 Attorney for Monica Lupiloff, Nicole
Troy Mi 48084 Lupiloff and Nicole Lupiloff,
248 649-7800 Personal Representative of the

Estate of Gary Lupiloff, deceased
248 593-5000

CROSS COMPLAINT and CERTIFICATE OF SERVICE
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NOW COME the Defendants/Cross-Plaintiffs herein, Monica Lynn Lupiloff, Nicole
Renee Lupiloff and Nicole Renee Lupiloff Personal Representative of the Estate of Gary

Lupiloff , Deceased, by their attorney, ALBERT L. HOLTZ, P.C., and for their Cross

Complaint state as follows:

GENERAL ALLEGATIONS

' 1. Plaintiff, Nationwide Life Insurance Company (hereinafter "Nationwide”) is an
insurance corporation with its principal place of business in Columbus, Ohio.

2. Defendant/Cross-Plaintiff, Monica Lynn Lupiloff, is a resident of Chicago, Cook
County, Illinois.

3. Defendant/Cross-Plaintiff, Nicole Renee Lupiloff, is a resident of Oakland
County, MI and is also the duly-qualified Personal Representative of the Estate of Gary
Lupiloff, her father, Oakland County Probate Court file: 10 330999 DE.

4. On July 13, 2010, Gary Lupiloff was murdered on his premises in Royal Oak, Mi.
He was shot in the back and died within an hour of the shooting.

COUNT |
The Insurance Policy

5. The Cross-Plaintiffs incorporate by reference each and every of the foregoing
allegations as though fully set forth herein, and further state:

6. The Cross-Plaintiffs were contingent-beneficiaries of a Nationwide policy in the
amount of $500,000 (hereinafter the “Policy”) attached hereto as Exhibit A. Cross-
Defendant, William Keene, on information and belief, was the alleged killer of Gary Lupiloff,
or William Keene allegedly hired someone io kill Gary Lupiloff, for the proceeds of the

Policy, which was issued without the knowledge of Cross-Plaintiffs.
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7. William Keene has filed a claim with Nationwide for the proceeds of the Policy

(attached hereto as Exhibit B).

8. Through fraud and/or duress, William Keene was substituted as owner (Exhibit

_ C) and primary beneficiary and Jennifer Keene was substituted as contingent beneficiary

in the place of Monica Lupiloff and Nicole Lupiloff (Exhibit D).

9. Gary Lupiloff's signature was allegedly forged onthe Change of Beneficiary form
the change of ownership form.
10. MGCL 700.2803(4) bars William Keene from collecting under the Policy. Further,
Jennifer Keene is barred also because of her alleged conspiracy in the killing, fraud and/or
duress, and she has failed io file a proof of claim under the Policy.
WHEREFORE, Cross-Plaintiffs pray that this Court enter a judgment in favor of the
.. Cross-Plaintiffs and award them interest, court costs and attorney fees for damages so

wrongfully sustained.

COUNT II
Wrongful Death

11. The Cross-Plaintiffs incorporate by reference each and every of the foregoing
allegations as though fully set forth herein, and further state:

12. William Keene is allegedly believed to have murdered Gary Lupiloff by shooting
him, or allegedly hiring an assailant to shoot Gary Lupiloff, in stealth, in the back, and from
behind the decedent’s premises in Royal Oak, MI.

13. In said shooting, William Keene, was allegedly guilty of gross negligence and/or

intentional misconduct resulting in the wrongful death of Gary Lupiloff to the detriment of

_ his family and his estate.
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’ 14. Gary Lupiloffs death caused him extreme pain and suffering, and caused
emotional pain and suffering to his family including, but not limited to, his daughters,

Monica Lupiloff and Nicole Lupiloff.

15. Said wrongful death allegedly perpetrated by William Keene was allegedly
within the knowledge, information and belief of his wife, Jennifer Keene, who knew or
should have known of Keene’s heinous act.

16, Gary Lupiloffs family and Estate have expended costs of medical treatment,
expenses of his last illness, and funeral, burial and monument expenses, all of which have
not been compensated.

17, Cross-Plaintiffs seek damages for wrongful death, pain, suffering, medical
expenses, cost of last illness, burial, internment, and monument expenses and exemplary
damages for the wrongful death of Gary Lupiloff.

WHEREFORE, Monica Lynn Lupiloff and Nicole Renee Lupiloff seek judgment in
the amount of $500,000 plus, interest, court costs and attorney fees, and the Estate of
Gary Lupiloff seeks judgment in the amount of $3,500,000 together with interest, court.
costs and attorney fees and such other and further relief as is justifiable in equity and good
conscience.

ALBERT L. HOLTZ, P.C.

Dated: 20 June 2011 {s/ Albert L. Holtz

